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 1

 2
                     IN THE CIRCUIT COURT OF THE STATE OF OREGON
 3
                                FOR THE COUNTY OF JACKSON
 4

 5   In the Matter of:

 6   HEIDI MARIE BROWN,                                  Case No. 22DR17285

 7                        Petitioner,                    MOTION TO DISMISS FOR DENIAL OF
                                                         JURISDICTION FOR REASON OF
            and                                          CONDUCT (ORS 109.764)
 8
     ARNAUD PARIS,
 9

1O                        Res ondent, Pro Per.

11   I, Arnaud Paris, Respondent, Pro Per, ask the court to dismiss Petitioner's dissolution

12   case under ORS 109. 764 as it has been presented already to this court and requested

13   in the Motion to dismiss file on April 18th 2023. Respondent motion stated very clearly

14   on page 20 and 21:

15

16          "The only way Oregon could have a viable claim to custody is if France declined

17          to exercise jurisdiction. Oregon would still have to contend with ORS 109. 764,

18          which requires it to decline to exercise jurisdiction if a parent has engaged in

19          "unjustifiable conduct" to invoke the jurisdiction of the state. Mother deceived

20          Father so she could remove the children from France and bring them to Oregon,

21          where she seeks a custody determination. This is the precise kind of

22          "unjustifiable conduct" that the UCCJEA is designed to prevent. If Oregon were

23          ever given a legitimate opportunity to assert jurisdiction, the court must decline to
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 1          exercise jurisdiction on that basis. If this court is inclined, after conferring with the

 2          court in France, to assert jurisdiction under ORS 109. 741 (1)(b)-(d), Respondent

 3          requests the court set a further hearing for the court to receive testimony and

 4          additional evidence of the parties to address the application of ORS 109. 764."

 5

 6           When the court dismissed Father's motion to dismiss Mother's case for lack of

 7   subject matter jurisdiction on August 22 nd , it failed to address this specific request to

 8   consider also the "unjustifiable conduct" of Mother who deceived Father so she could

 9   remove the children from France and bring them to Oregon, where she seeks a custody

10   determination.

11

12          The court has scheduled a hearing on November 14th to address the Statement

13   Of Attorney Fees based on the fact that Mother would have "prevailed" in the matter.

14   But since the court hasn't « set a further hearing for the court to receive testimony and

15   additional evidence of the parties to address the application of ORS 109. 764 » Mother

16   can't say that she has prevailed in dealing with Father's motion to dismiss filed in April

17   18th 2023, not to mention that Father was denied due process which also lead to the

18   wrongful and illegal denial of his motion and gives no value to this court judgment and

19   decisions. In any case the court has clearly ignored Father's request in his original

20   Motion from April 18th which is why today Father is filing this supplemental Motion to

21   dismiss this case for lack of subject matter jurisdiction for reason of conduct that hasn't

22   been addressed by the court as it had the obligation to.

23          Therefore, Father would like to point out to the court that this case has been
                                                  2
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 1   brought to the Jackson County court based on a series of lies and fraud made by

 2   Mother in the clear intent to do forum shopping and as a result that this court should

 3   dismiss the case based on ORS 109.764 Jurisdiction declined by reason of conduct.

 4         • Here are the proof of the key lies and fraud towards Father that were made by

 5   Mother to bring this case to the court:

 6      1) Lie about the transfer of her French job to the US in June

 7          Since spring 2022 Father was always clear to Mother that the idea of moving to

 8   Oregon for the coming school year was only making sense if Mother could have her

 9   French job transferred to the US.

10          In June 2022, Mother told Father that her French company had agreed to

11   transfer her job to the US. And Mother told all our friends, family and friends that to

12   justify that we were going to move to the US. But it was all a lie:

13          See attached exhibit 01 ab: email communication from Miss Brown French boss

14   who testified to us that Miss Brown actually lied about that approved transfer in June, he

15   never did approve it:

16          "In June 2022, she indicated her intention to return to the US for personal

17   reasons without giving us a specific date. We did not follow up on her request for a

18   transfer."

19          Miss Brown lied to me about that approved job transfer back in June 2022 in

20   order to make it look like we had a possibility to move to the US and she told the same

21   lie to all our French friends, family and even the girls' schools to make it look like that

22   move was becoming a reality. Without that job transfer approval, I would never have

23   agreed to consider or start a preparation for a possible move to Oregon for the following
                                                   3
24



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 1   school year back in June 2022.

 2      2) Lie and fraud in the Paris July 13th agreement in order to bring the children

 3          to US.

 4          This is probably the biggest and most shocking of all Miss Brown's lies. She did a

 5   full manipulation on that day to make Mr. Paris agree to this temporary move to Oregon

 6   making him believe that there was still hope for their relationship and that she didn't

 7   want a separation. While on the email found on her computer it is clear that not only did

 8   she want a separation at that time but she also wanted to evade the French judge to

 9   bring that case to an Oregon court.

10          See attached exhibit 1Oab: French July 19th Agreement between Miss Brown

11   and Mr. Paris lawyers.

12          See attached exhibit 11: Email dated July 20 th showing that Miss Brown had no

13   intent in respecting the July 19th agreement and she had a plan to make a separation

14   down the line in Oregon so that she could bring the matter in front of a local custody

15   court that would be more favorable to her and would allow her to keep the children in

16   Oregon and avoid a separation in France.

17          This was also very clear to the Federal Judge McShane who saw clearly in the

18   fraudulent and deceitful plan of Miss Brown clearly during the Hague Trial (see attached

19   Exhibit13):

20          "THE COURT: It does certainly suggest within the body of Exhibit 13 that Ms.

21   Brown's intent of entering into the July 9 agreement was simply to perpetuate a fraud on

22   both the French courts and Mr. Paris. So I do think it falls, generally, under the -- what

23   we call the crime fraud exception."
                                                  4
24



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 1          Then further down the same page in Exhibit13 he says:

 2          "But there's lots of other evidence that prior to filing the Hague Convention Act

 3   case, that it was clear that -- at least on the evidence I have before me so far--, there's a

 4   lot of clarity that Ms. Brown did not intend to return with the children to France."

 5          And then in Exhibit14 he adds:

 6          "If there is extrinsic evidence, it would be the fact that Ms. Brown entered into a

 7   parenting agreement in France and then made it very clear in communications with her

 8   lawyer she has no intent on following that agreement."

 9          See attached exhibit 13: Except01 from Federal Hague trial where judge

10   McShane clearly sees the fraudulent intent from Miss Brown.

11          See attached exhibit 14: Except02 from Federal Hague trial where judge

12   McShane clearly sees the fraudulent intent from Miss Brown.

13      3) Lie and perjury about how she kept the children in Oregon after August 20.

14          When I came to the US on August 20 th , 2023 after having made clear to Miss

15   Brown that this potential installation in Oregon wasn't making any sense anymore, and

16   just before I found proof that Miss Brown had been making this agreement fraudulently

17   just so that she could bring the children to the US, Miss Brown and her family took the

18   liberty to go through my belongings illegally while I was at the park with the kids. They

19   did so in the intent of taking the French passports of the children and wrongfully

20   retaining them in Oregon against my will.

21          Miss Brown therefore obtained the fact that the children had been in Oregon

22   more than a few weeks for vacations when she filed her petition for this case and her

23   petition for the Status Quo order on yet a wrongful action and therefore she lied to the
                                                   5
24



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 1   court. Since I fully disagreed to having the children staying in Oregon and I asked for

 2   their French passports back on many occasions. I showed this refusal in many ways

 3   that I'm happy to document to the court further.

 4          Here are attached already 3 police reports in which it appears clearly that Miss

 5   Brown with the help of her parents went through my belongings to try to take the French

 6   passports of the children and then lied to me in order to obtain these passports and

 7   went into hiding them for many weeks against my will just so that they could keep the

 8   children illegally here in the US while they had only been in Oregon for a few weeks.

 9          See attached exhibit 18: Police report showing that Miss Brown and her parents

10   went through my belonging the morning after my arrival against my will to prevent their

11   return to France

12          See attached exhibit 19: Police report showing that Miss Brown st~p father, Eric

13   Olson, took the French passports and hid them on August 21st against my will to prevent

14   the kids return to France

15          See attached exhibit 20: Police report showing that Miss Brown had been

16   keeping already for more than a month the French passports of the girls against my will

17   to prevent their return to France

18

19      4) Lie and perjury in her Status Quo petition to the court

20         And finally, these lies add up all in the petition Miss Brown made to the Court on

21   October 7th when she asked for a Status Quo order to block the children in Oregon and

22   continue unfolding her fraudulent and devious strategy making the court the instrument

23   of this outrageous fraudulent plan.
                                                 6
24



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 1          She even had no problem claiming that the children had been living "continuously

 2   in the same place for the pasts 3 months" while she barely had been living with them a

 3   month when she filed her Status Quo petition. And technically only counts the time she

 4   would have been living with them alone and that barely added up to a week!

 5          More importantly she claimed that the family was installed and living in Oregon

 6   while I had clearly shown my refusal to such situation for many weeks when she filed

 7   her petition as I had filed a complaint for child abduction in France, I had started a

 8   petition under the Hague Convention in Paris. I also had reported many times to the

 9   police in Ashland that she was keeping the French passports wrongfully against my will

10   and therefore keeping the kids from returning to France which constitutes already a

11   custodial interference under ORS 163.245 which could constitute felony charges

12   against Miss Brown.

13          Now it is also important to understand that Miss Brown didn't just lie extensively

14   to me, our kids, my family and all our friends and the schools in Paris. She also lied to

15   great extent and bluntly to Judge Mcshane during the Hague trial that happened last

16   December in Eugene. Here are some of the few most shocking lies that happened

17   during that Hague trial:

18          8) Lie to Judge McShane about the plane ticket bought for the family in

19   April 2022

20          She told judge McShane that the whole family was scheduled to fly to Oregon

21   early summer and that a plane ticket was purchased for all of us, that's not true, she lied

22   to Judge McShane. Here is the plane ticket she bought back in April, I'm not on there.

23   She told me it was to go and spend the summer in Ashland to see the grandparents.
                                                  7
24



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 1           See attached exhibit 00: plane ticket bought by Heidi for her and the girls on

 2   April 21 5 1, 2022

 3           9) Lie to Judge McShane about moving out of our Paris apartment to go US

 4           Heidi pretended to Judge McShane that we had a plan to leave our apartment in

 5   Paris to move to the US since early 2022. But that wasn't true, we wanted to move out

 6   of that apartment since early 2022 because we couldn't stand it and we kept looking for

 7   new apartments till June 16th .

 8           See attached Exhibit21: Paris_Apartment_Search_Heidi_Feb28

 9           See attached Exhibit22: Paris_Apartment_Search_Heidi_March22

10           See attached Exhibit23: Reasons_Leave_Apartment_Malher_March29

11           See attached Exhibit24: Apartment_Search_Paris_June16

12   10) Lie to Judge McShane about our house project in California

13           Heidi pretended to judge McShane that we had a family project in California

14   when we moved to Paris but that was a lie too, Heidi had given up on that family house

15   project in Topanga before we got to Paris. It was even clear to the architect that worked

16   with us on this project.

17           See attached Exhibit25: Janek_Architect_Topanga_Email_Dec6

18   13) Lie about Arnaud Paris living in the US

19   Heidi knows very well that I didn't live in California and that the only connection left in

20   California was that piece of land that I started a partition case about. She also knows

21   that the address I sometime use in Topanga and that I gave when I got that temp job in

22   Texas for the payroll company to be able to pay me is just a mailbox at my old office

23   and that I don't live there. She also knows I own an apartment in Paris, that this is my
                                                   8
24



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 1   official residence, that I pay my utilities there along with all my bills and that I pay a

 2   residency tax there.

 3   See attached Exhibits 48a and 49: Proof of residency tax in Paris for the apartment I

 4   own there and have residency in.

 5   See attached Exhibits 30a and 30b: Proof of ownership for the apartment I have in

 6   Paris in which the entire family lived almost a year between 2017 and 2019 and which

 7   remained our official address in France till July 2022. And actually to this date this is

 8   also our girls main residency.

 9   See attached Exhibit46: Proof that the address in Topanga is just a mailbox that the

10   manager from my old office space lets me keep there. He also certifies that I don't live

11   at that address.

12          I think that the court has now clear proof that this entire case has been made of

13   lies and perjuries to the court and that it should be promptly dismissed for reason of

14   conducts. Her entire petition for dissolution is a farce and she can't possibly claim that

15   we even have a single joint asset here in Oregon. As a matter of fact, all she could

16   show is that she bought with me a piece of property in California. The dissolution of this

17   single asset will actually be taking place in California as the jurisdiction belongs the

18   court of the county where the land is located. And there is a partition case already

19   happening to deal with that piece of property, it was filed in the court of Santa Monica

20   under case number 23SMCV01255 and Miss Brown was served with that case on April

21   2nd in Oregon.

22          It is deeply concerning to see that Miss Brown is lying so openly and on so many

23   levels in her communications and declarations with the court. We see it here, but it was
                                                    9
24



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 1   also the case in her initial petition for Status Quo order in which she swore under perjury

 2   facts that were totally untrue just so that she could force our children to remain in

 3   Oregon against my will in the sole purpose of bringing that matter in front of honorable

 4   Judge Orr just to serve her fraudulent and deceitful premeditated plan.

 5

 6          I hereby declare that the above statement is true to the best of my knowledge and

 7   belief, and that I understand it is made for use as evidence in court and is subject to

 8   penalty for perjury of the laws in the state of Oregon.

 9   Prepared on November 13th in Paris and filed in court on November 14th by Fedex

10   delivery.

11

12

13
     By:_
14   ARNAUD PARIS, Respondent, Pro Per
     13 rue Ferdinand Duval ,75004, PARIS, FRANCE
15   Telephone: +33688283641, Email: aparis@sysmicfilms.com

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22

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                                                  10
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 1                                  CERTIFICATE OF SERVICE

 2      I hereby certify that I served the foregoing MOTION TO DISMISS FOR LACK OF
        SUBJECT MATTER JURISDICTION FOR REASON OF CONDUCT (ORS 109. 764)
 3      on the following party:

                                        Taylor L.M. Murdoch,
 4                                       Buckley Law P.C.
                                   5300 Meadows Road, Suite 200
 5                                    Lake Oswego, OR 97035
                                       TLM@buckley-law.com
 6                                       Attorney for Petitioner

 7   By the following method or methods:

            by mailing full, true, and correct copies thereof in sealed, first class postage
 8   prepaid envelopes, addressed to the attorneys(s) as shown above, the last known office addre s of
     the attorney(s), and deposited with the United States Postal Service at Portland, Oregon on the date
 9   set forth below.

1o   X    by emailing full, true, and correct copies thereof to the attorney(s) at the email address
     shown above, which is the last known email address for the attorney(s) office, on the date set i rth
     below.
11
          by faxing full, true, and correct copies thereof to the attorney(s) at the fax number(s)
12   shown above, which is the last known fax number for the attorney(s) office, on the date set fort
     below. The receiving fax machines were operating at the time of service and the transmission as
13   properly completed.

14          by selecting the individual(s) listed above as a service contact when preparing this electr nic
     filing submission, thus causing the individual(s) to be served by means of the court's electroni filing
     system.
15

16   Prepared on November 13th 2023 in Paris and served on November 14th 2023 when the
     court receives documents by Fedex delivery.
17

18

19   By:_
     ARNAUD PARIS, Respondent
20
     ARNAUD PARIS
21   13 rue Ferdinand Duval
     75004, PARIS, FRANCE
22   Telephone: +33688283641
     Email: aparis@sysmicfilms.com
23
                                                   11
24



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